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3
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5
                           UNITED STATES DISTRICT COURT
6
                                  DISTRICT OF NEVADA
                                            -oOo-
7


8     UNITED STATES OF AMERICA,                   Case No.: 2:15-cr-00014-APG-VCF

                            Plaintiff,
9
                                                  GOVERNMENT’S SUPPLEMENTAL
                 vs.                              RESPONSE IN OPPOSITION TO
10                                                DEFENDANT QAZI’S “MOTION FOR
      OMAR QAZI,                                  RELEASE PENDING SENTENCING”
                                                  [ECF No. 529]
11
                            Defendant.
12

           The United State of America, by and through DAYLE ELIESON, United States
13
     Attorney, and ALEXANDRA MICHAEL, Assistant United States Attorney, hereby
14
     respectfully submits this timely Government’s Supplemental Response in Opposition to
15   Defendant Qazi’s “Motion for Release Pending Sentencing” [ECF No. 529].

16   …

17   …

18   …

19
                                              1
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1
                                          POINTS AND AUTHORITIES

2
                                    I.        Relevant Procedural Background

3
            On January 20, 2015, Defendant Omar Qazi (Qazi) was charged in a single

4    count indictment with being a Felon in Possession of a Firearm. 1 On February 24,
                                                                       0F




     2015, Qazi made his initial appearance and was ordered detained pending trial. 2 Qazi
5
                                                                                          1F




     has remained in custody since that date. On August 1, 2018, Qazi was found guilty,
6
     after a jury trial, of being a Felon in Possession of a Firearm, as charged in the
7
     Indictment. 3 After the guilty verdict, Qazi was remanded to custody pending
                          2F




8    sentencing. 4 On August 7, 2018, Qazi filed a Motion for Release Pending Sentencing
                     3F




     (Motion). 5 On August 21, 2018, the Government filed a Response in Opposition to
9
               4F




     Qazi’s Motion. 6 On August 28, 2018, the Court held a Motion hearing and requested
                               5F




10
     supplemental briefing from the Government. 7 Sentencing is currently set for
                                                           6F




11   November 15, 2018 at 9:00am. 8      7F




12                                              II.   Argument


13                  A. Qazi Has Not Met The Legal Standard For Re-Opening His
                       Detention Hearing

14          A detention hearing may be reopened only “if the judicial officer finds that

     information exists that was not known to the movant at the time of the hearing,” and
15


16   1 ECF No. 1.
     2 ECF No. 13.
     3 ECF No. 523.
17   4 ECF No. 527.
     5 ECF No. 529.
     6 ECF No. 534.
18   7 ECF No. 537.
     8 ECF No. 527.


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     that the information “has a material bearing on the issue whether there are conditions

2    of release that will reasonably assure the appearance of the person as required, and the

     safety of any other person and the community.” 18 U.S.C. § 3142(f). Qazi’s Motion
3
     argues that his anticipated sentencing guidelines range will be twenty-one (21) months
4
     to twenty-seven (27) months in custody. Qazi proposes his base offense level will be
5
     fourteen (14) and his criminal history category is III. Qazi submits he has already served

6    well in excess of that time in custody, to date approximately forty-two (42) months. 9 At        8F




     the Motion hearing on August 28, 2018, the Court expressed concern that the
7
     Government’s position was if Qazi has been in custody well in excess of his potential
8
     sentence, that fact would not warrant re-opening his detention hearing nor support his

9    release pending sentencing. That is not the case. The Government’s position is that

10   Qazi’s anticipated guidelines sentencing range is well beyond the amount of time he has

     already been in custody 10, that his argument that he had already exhausted the term of
11
                                9F




     his potential sentence had already been raised in a prior motion to reopen detention, had
12
     been addressed and rejected by the Court, and that therefore, Qazi’s Motion did not

13   present any new and material information to warrant re-opening his detention hearing

     under 18 U.S.C. § 3142(f) nor did it support release pending sentencing under 18 U.S.C.
14
     § 3143(a) and 18 U.S.C. § 3142(g).              The Government respectfully submits this
15
     supplemental brief addressing its position in greater detail. Qazi, in his Motion, admits
16


17
     9ECF No. 529 at 2.
     10The Government anticipates a guidelines range of 63 – 78 months in custody prior to any potential
18
     additional two level enhancement for Obstructing or Impeding the Administration of Justice under
     § 3C1.1 which would result in a guidelines range of 78 – 97 months in custody.
19
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1
     that he is not presenting new information nor a new argument. 11 Qazi made this same
                                                                     10F




2    argument in previous filings 12 on April 4, 2017 and April 12, 2017, after he had raised
                                       11F




     the issue during the Motion hearing in front of Magistrate Judge Leen (Judge Leen) on
3
     March 23, 2017. 13 At the conclusion of the Motion hearing, Judge Leen requested
                       12F




4
     additional briefing from the parties to address this and other issues. 14 Throughout the
                                                                            13F




5
     pendency of this case, Qazi has repeatedly re-filed arguments previously presented and

6    decided by this Court.      Qazi’s current motion is no different.    Qazi referenced the

     Government’s concession in United States v. Barlese along with his other arguments
7
     regarding his Nevada felony conviction for Battery with Substantial Bodily Harm
8
     conviction not qualifying under the elements clause of USSG § 4B1.2(a)(1) and the

9    modified categorical approach with referenced exhibits specifically on April 4, 2017. 15
                                                                                            14F




10   Judge Leen’s Order (Order) indicated her potential concern about the amount of time

     that Qazi had been in custody, approximately twenty-five (25) months at the time of the
11
     Motion hearing, in relation to his potential sentencing guidelines range and given the
12
     pending interlocutory appeal. 16 Judge Leen requested supplemental briefing in order to
                                             15F




13   consider Qazi’s due process arguments and the parties positions concerning the length

     of his current and potential future detention. 17 Judge Leen’s Order summarized Qazi’s
14
                                                       16F




     arguments from his supplemental response where he submitted his underlying
15


16
     11 ECF No. 529 at 2.
17
     12 ECF No. 308 and ECF No. 315.
     13 ECF No. 305.
     14 Id.
     15 ECF No. 308 at 5-7.
18   16 ECF No. 325 at 16-17.
     17 ECF No. 325 at 16-17.


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1
     conviction would not qualify as a crime of violence. 18 Judge Leen’s Order also found that
                                                            17F




2    at least one circuit had held that the length of current or potential future detention

     cannot be considered in deciding whether to reopen a detention hearing. United States
3
     v. Hare, 873 F.2d 796 (5th Cir. 1989). 19 18F       Nevertheless, Judge Leen conducted an
4
     evidentiary hearing, considered the parties arguments and reviewed the parties filings,
5
     and ultimately found that “Qazi has not established that there is new information that

6    has a material bearing on whether conditions of release can be fashioned to reasonably

     assure his appearance and the safety of the community.” 20 The Government submits
7
                                                                    19F




     the same is true of Qazi’s most recent Motion and it should therefore be denied.
8
                B. Qazi’s Nevada Conviction For Battery With Substantial Bodily
9                  Harm Qualifies As A Crime of Violence Under The Sentencing
                   Guidelines

10                  1. USSG § 2K2.1

11          On August 1, 2018, Qazi was found guilty of being a Felon in Possession of a

12   Firearm in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). 21 The applicable United
                                                                          20F




     States Sentencing Guidelines (USSG) section for sentencing is 2K2.1. Section
13
     2K2.1(a)(4)(A) directs a sentencing court to assign a base offense level of twenty (20) to
14
     a defendant convicted of unlawful possession of a firearm if the defendant committed

15   that offense “subsequent to sustaining one felony conviction of either a crime of

     violence or a controlled substance offense.” “Crime of violence” is defined in USSG §
16


17
     18 ECF No. 325 at 14.
     19 ECF No. 325 at 17.
18   20 ECF No. 325 at 19.
     21 ECF No. 523.


19
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     4B1.2(a) as “any offense under federal or state law, punishable by imprisonment for a

2    term exceeding one year,” that—

           (1) has as an element the use, attempted use, or threatened use of physical force
3
           against the person of another, or

4          (2) is murder, voluntary manslaughter, kidnapping, aggravated assault, a
           forcible sex offense, robbery, arson, extortion, or the use or unlawful possession
           of a firearm described in 26 U.S.C. § 5845(a) or explosive material as defined in
5          18 U.S.C. § 841(c).
     USSG § 4B1.2(a)(1) is referred to as the elements clause and USSG § 4B1.2(a)(2) is
6
     referred to as the enumerated offenses clause. To qualify as “physical force” under the
7
     elements clause, the force must be “force capable of causing physical pain or injury to

8    another person.” Cf. Johnson v. United States, 559 U.S. 133, 140 (2010).

9                 2. The Categorical Approach and Modified Categorical Approach

           Courts must “look beyond the label” of the crime and consider its elements to
10
     determine if it is a qualifying predicate. United States v. Rivera-Muniz, 854 F.3d 1047,
11
     1049 (9th Cir. 2017). Thus, courts apply the “categorical approach” by comparing the

12   elements of the statute of conviction with the elements of the “generic” predicate crime.

     Id.; see also, e.g., Descamps v. United States, 133 S. Ct. 2276, 2281 (2013) (discussing
13
     categorical approach in ACCA context); Mathis v. United States, 136 S. Ct. 2243, 2248
14
     (2016) (same). If the prior conviction has the same or narrower elements as the generic
15   offense, it may serve as a predicate for the enhancement. Descamps, 133 S. Ct. at

16   2281. Where an overbroad statute of conviction includes multiple offenses by listing

     “one or more elements of the offense in the alternative,” courts employ the “modified
17
     categorical approach” and consult certain case documents “to determine which
18
     alternative formed the basis of the defendant’s prior conviction.” Id. This allows

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1
     courts to “compare the elements of the crime of conviction (including the alternative

2    element used in the case) with the elements of the generic crime.” Id. When the crime

     of conviction has only a single, “indivisible” set of elements, the modified categorical
3
     approach does not apply. Id. at 2282. Rather, courts should “focus solely on whether
4
     the elements of the crime of conviction sufficiently match the elements of [the] generic
5
     [crime], while ignoring the particular facts of the case.” Mathis, 136 S. Ct. at 2248.

6    When a sentencing court encounters an overbroad statute of conviction containing

     alternative phrases, the first task “is thus to determine whether its listed items are
7
     elements or means.” Id. at 2256. If they are elements, the court should apply the
8
     modified categorical approach to determine which enumerated alternative element

9    comprised the defendant’s conviction and then compare the elements to the generic

10   offense. Mathis, 136 S. Ct. at 2248. If, on the other hand, they merely describe

     alternate factual means of committing a crime, the court may not consider which
11
     factual alternative led to a conviction. Id. To make this elements/means
12
     determination, a sentencing court should look to “authoritative sources of state law,”

13   including first and foremost “a[ny] state court decision definitively answer[ing] the

     question.” Id. at 2256. Absent such a decision, a sentencing court can examine the
14
     statute itself for clues about the alternatives (e.g., alternatives with different
15
     punishments are elements whereas illustrative examples are means). Id. If state law
16   lacks a clear answer, judges can “peek at the [record] documents . . . for the sole and

17   limited purpose of determining whether the listed items are elements of the offense”


18


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1
     (e.g., how indictment and jury instructions were drafted). Id. at 2256-57 (internal

2    quotation marks and alterations omitted).

                     3. Nevada Battery with Substantial Bodily Harm
3
             Qazi’s underlying conviction is Battery With Substantial Bodily Harm (Category
4
     C Felony), in violation of Nevada Revised Statue (NRS) 200.481(2)(b). 22 Nevada’s    21F




5
     battery statute, NRS 200.481, provides, in relevant part:

6            1. As used in this section:
                     (a) “Battery” means any willful and unlawful use of force or violence upon
7                    the person of another.
     …
8
                     2. Except as otherwise provided in NRS 200.485, a person convicted of a
                     battery, other than a battery committed by an adult upon a child which
9                    constitutes child abuse, shall be punished:
     …
10
                     (b) If the battery is not committed with a deadly weapon, and either
                     substantial bodily harm to the victim results or battery is committed by
11
                     strangulation, for a category C felony as provided in NRS 193.130. 23            22F




12


13
     22 ECF No. 308 at 21 – 30 (BATES 51 – 60) and Gov. Ex. #1 (BATES 168 – 186) includes Guilty Plea
     Agreement, Amended Information Transcript from Guilty Plea, and Judgement of Conviction.
14   23 Nevada case law suggests that NRS 200.481(2)(b) is divisible as between battery resulting in

     substantial bodily harm and battery by strangulation. See Villa v. State, No. 67568, 2016 WL 4159472,
     at *1 (Nev. July 28, 2016) (rejecting defendant’s claim that the state filed multiplicitous charges, noting
15   that “domestic battery (strangulation) requires strangulation but not substantial bodily harm, and
     battery causing substantial bodily harm requires substantial bodily harm but not strangulation”).
     Defendants in Nevada are generally charged and convicted of one or the other. See, e.g., McCullough v.
16   Nevada, No. 69684, 2016 WL 7189996, at *1 (Nev. App. Nov. 18, 2016) (defendant convicted of “battery
     by strangulation”); De Santiago-Ortiz v. State, No. 67424, 2016 WL 699867, at *1 (Nev. Feb. 19, 2016)
     (defendant convicted of “battery causing substantial bodily harm”).
17           This Court need not resolve that question, however, as Nevada battery by strangulation
     unquestionably has, as an element, the use of physical force against the person of another. See NRS
     200.481(1)(h) (“‘Strangulation’ means intentionally impeding the normal breathing or circulation of the
18   blood by applying pressure on the throat or neck or by blocking the nose or mouth of another person in a
     manner that creates a risk of death or substantial bodily harm.”).

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                  4. Battery with Substantial Bodily Harm Qualifies As a Crime of Violence
                     Based on Its Elements
2
           In the context of the closely related Armed Career Criminal Act, 18 U.S.C. §
3
     924(e), the Ninth Circuit explained that simple battery—defined to include any

4    “unlawful touching”—would not on its own qualify as a categorical violent felony,

     because the offense would not in all cases punish conduct that is violent in nature.
5
     United States v. Lawrence, 627 F.3d 1281, 1286 (9th Cir. 2010), abrogated on other
6
     grounds by United States v. Robinson, 869 F.3d 933, 937 (9th Cir. 2017). State statutes

7    that require intentional touching “result[ing] in substantial bodily harm,” however,

8    “necessarily require force that go[es] beyond the ‘least touching,’ and represent ‘actual

     force’ that is violent in nature.” Id. at 1287 (quoting United States v. Grajeda, 581 F.3d
9
     1186, 1192 (9th Cir. 2009)); cf. United States v. Juvenile Female, 566 F.3d 943, 948 (9th
10
     Cir. 2009) (“[A] defendant charged [with] assault resulting in bodily injury necessarily

11   must have committed an act of force in causing the injury.”).

           More recently, in United States v. Guizar-Rodriguez, No. 16-10507, 2018 WL
12
     3945540 (9th Cir. Aug. 17, 2018) the Ninth Circuit held that because a violation of
13
     NRS 200.481(2)(e)(1) requires committing a battery ‘with the use of a deadly weapon’ it
14
     is a categorical crime of violence as even the ‘least touching’ with a deadly weapon or

15   instrument …is violent in nature. Id at *7 referencing Grajeda. The Ninth Circuit also

     recently in United States v. Gutierrez, 876 F.3d 1254, 1256 (9th Cir. 2017), held that
16
     federal carjacking qualifies as a crime of violence. In doing so, the Court reasoned that
17
     “[a] defendant cannot put a reasonable person in fear of bodily harm without

18   threatening to use ‘force capable of causing physical pain or injury.’” Id. at 1257; see

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                                                  9
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1
     also United States v. Watson, 881 F.3d 782, 785 (9th Cir. 2018) (“bank robbery qualifies

2    as a crime of violence because even its least violent form “requires at least an implicit

     threat to use the type of violent physical force necessary to meet the Johnson
3
     standard.”).
4
           Guizar-Rodriguez, Gutierrez and Watson are consistent with other Ninth Circuit
5
     cases, which have long held that offenses involving substantial bodily harm (or

6    weapons capable of inflicting bodily harm) qualify as crimes of violence under the

     elements clause. See, e.g., Camacho-Cruz v. Holder, 621 F.3d 941, 943 (9th Cir. 2010)
7
     (holding that Nevada’s assault-with-use-of-a-deadly-weapon statute is a crime of
8
     violence because it “requires that the defendant, by using a deadly weapon,

9    intentionally create in another person a reasonable fear of immediate bodily harm”);

10   Rosales-Rosales v. Ashcroft, 347 F.3d 714, 717-18 (9th Cir. 2003) (holding that a

     California statute that prohibits “willfully threaten[ing] to commit a crime [that would]
11
     result in death or great bodily injury” is a crime of violence because, on its face, it is an
12
     offense “that has as an element the threatened use of physical force against the person

13   or property of another”); United States v. Calvillo-Palacios, 860 F.3d 1285, 1291 (9th

     Cir. 2017) (“in the context of assault statutes, bodily injury entails the use of violent,
14
     physical force as Juvenile Female, Villavicencio-Burruel, Melchor-Meceno, Cabrera-
15
     Perez, and Arellano Hernandez demonstrate”).
16         This precedent mandates the conclusion that Nevada battery with substantial

17   bodily harm qualifies as a crime of violence based on its elements. Nevada defines

     “substantial bodily harm” as either “[b]odily injury which creates a substantial risk of
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     death or which causes serious, permanent disfigurement or protracted loss or

2    impairment of the function of any bodily member or organ” or “[p]rolonged physical

     pain.” NRS 0.060. For purposes of the elements clause, the phrase “physical force”
3
     means “force capable of causing physical pain or injury to another person.” Johnson,
4
     559 U.S. at 140. Those two definitions are plainly co-extensive.
5
               In support of his argument, Qazi first points to the Government’s Unopposed

6    Motion in United States v. Barlese where the parties agreed that a conviction for

     battery by a prisoner in violation of NRS 200.481(2)(f) was not a crime of violence post-
7
     Johnson. 24  23 F




8
               NRS 200.481 provides, in relevant part:

9              (f) If the battery is committed by a probationer, a prisoner who is in lawful
               custody or confinement or a parolee, without the use of a deadly weapon,
               whether or not substantial bodily harm results and whether or not the battery is
10
               committed by strangulation, for a category B felony by imprisonment in the
               state prison for a minimum term of not less than 1 year and a maximum term of
11             not more than 6 years.
     NRS 200.481(2)(f) describes criminal activity that would constitute a “simple battery”
12
     by a prisoner as it includes a battery without the use of a deadly weapon, and does not
13
     require substantial bodily harm nor strangulation. A conviction under NRS

14   200.481(2)(f) is distinguishable from a conviction under NRS 200.481(2)(b) and

     therefore does not support Qazi’s argument.
15
               Qazi next argues that his conviction was under NRS 200.481 generally and
16
     Nevada battery alone doesn’t qualify as a crime of violence. 25 Qazi then references his
                                                                             24F




17


18   24   United States v. Barlese, Case No. 15-10269, 10/13/2015, ID:9714969, DktEntry: 12.
     25   ECF No. 529 at 2.
19
                                                         11
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1
     court documents to include: guilty plea agreement, amended information and judgment

2    of conviction. 26 All these documents specifically detail the conviction as a felony for
                    25F




     Battery with Substantial Bodily Harm and list the underlying criminal activity to
3
     include willfully, unlawfully, and feloniously used force or violence upon the person of
4
     another, to-wit, LESLIE LANCE, by repeatedly shoving the said LESLIE LANCE,
5
     resulting in substantial bodily harm to the said LESLIE LANCE. 27 The transcript
                                                                                    26F




6    from Qazi’s guilty plea colloquy also reflects the same information. 28              27F   28F
                                                                                                      29   The factual

     allegations in all of these documents unequivocally show Qazi’s conviction was for
7
     Battery with Substantial Bodily Harm under NRS 200.481(2)(b) not simple battery.
8
            Qazi then argues the level of force required under NRS 200.481(2)(b) need not be

9    violent. 30 Qazi references a number of Nevada Supreme Court cases in support of his
              29F




10   argument. Qazi first relies on Hobbs v. State, 251 P.3d 177, 179-180 (Nev. 2011). In

     Hobbs, the Nevada Supreme Court found that intentionally spitting on another
11
     constitutes the "use of force or violence" required for a battery under NRS 200.481 in
12
     terms of simple battery only, not battery with substantial bodily harm. As such, that

13   case in inapplicable to Qazi’s conviction. Qazi also relies on Collins v. State, 203 P.3d

     90 (Nev. 2009). In Collins, the defendant struck the victim in the face, knocking him
14


15


16
     26 Id. and ECF No. 308 at Ex. #5 pages 20 – 30.
     27 Gov. Ex. #1 (BATES 168, 174, 183, and 185)
     28 Gov. Ex. #1 (BATES 183)
     29 The Government would note Qazi’s arguments and exhibits in ECF No. 308 include a notarized
17
     document from the victim Leslie Lance stating she did not suffer substantial bodily harm. This
     document in conjunction with Qazi’s calls to the victim and her statements to police after the assault
     occurred will be utilized by the Government at sentencing to support a two (2) level enhancement for
18
     Obstruction or Impeding the Administration of Justice under USSG § 3C1.1.
     30 ECF No. 529 at 3.


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     unconscious, and then robbed him. Id. at 91. The victim suffered a right temple

2    fracture as a result of trauma, and for weeks experienced dizziness and could not bend

     over without almost losing consciousness. Ibid. The Nevada Supreme Court rejected
3
     the defendant’s claim on appeal that the phrase “prolonged physical pain” is
4
     unconstitutionally vague. It explained that, although “the term ‘pain’ is necessarily
5
     subjective,” id. at 92, “the phrase ‘prolonged physical pain’ must necessarily encompass

6    some physical suffering or injury that lasts longer than the pain immediately resulting

     from the wrongful act,” id. at 92-93. The phrase ‘prolonged physical pain’ has a well-
7
     settled and ordinarily understandable meaning—i.e., there must be at least some
8
     physical suffering that lasts longer than the pain immediately resulting from the

9    wrongful act.” Collins, 203 P.3d at 93. The Nevada Supreme Court in LaChance v.

10   State, 321 P.3d 919, 925 (2014) also relied on Collins in finding that a victim, who as a

     result of an assault, was treated at the hospital for hemorrhaging of the ear, multiple
11
     contusions and welts along with being immobile for a few days afterward and finally
12
     her injuries resulting in permanent shin splints, hearing loss and an inability to sit for

13   long periods all amounted to ‘some physical suffering or injury that lasts longer than

     the pain immediately resulting from the wrongful act’ and therefore supported a
14
     conviction for domestic battery causing substantial bodily harm. Both Collins and
15
     LaChance support the Government’s position that the level of force required under a
16   violation of NRS 200.481(2)(b) punishes conduct that is violent in nature.

17         The U.S. Supreme Court defined “physical force” as “force capable of causing

     physical pain or injury to another person.” Johnson, 559 U.S. at 140. The Court in
18


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1
     Johnson put no further limitation on that definition, and it is not the role of the district

2    court to read such a limitation into the Supreme Court’s clear holding. As the Supreme

     Court has repeatedly made plain, the categorical approach “is not an invitation to
3
     apply ‘legal imagination’ to the state offense; there must be ‘a realistic probability, not
4
     a theoretical possibility, that the State would apply its statute to conduct that falls
5
     outside the generic definition of a crime.” Moncrieffe, 569 U.S. at 191 (quoting

6    Gonzales v. Duenas-Alvarez, 549 U.S. 183, 193 (2007)).

           A cursory review of Nevada case law provides no support for the contention that
7
     convictions for battery with substantial bodily harm result from non-violent conduct.
8
     See, e.g., Wright v. State, No. 72419, 2017 WL 6804687 (Nev. App. Dec. 26, 2017)

9    (defendant punched victim numerous times, breaking bones in the victim’s face and

10   bruising his brain); McGowan v. State, No. 71071, 2017 WL 4216455 (Nev. App. Sept.

     13, 2017) (victim testified that defendant struck her more than once and she suffered a
11
     facial fracture and the loss of a tooth); Odonnell v. State, No. 70848, 2017 WL 2334574
12
     (Nev. App. May 24, 2017) (defendant punched and dragged the victim and struck her

13   with a lamp); Villa v. State, No. 67568, 2016 WL 4159472 (Nev. July 28, 2016)

     (defendant punched and choked the victim, causing her to lose consciousness; the
14
     compression caused capillaries in the victim’s face, eyes, and brain to rupture; and her
15
     eye completely turned inward towards her nose, remaining in that impaired condition
16   for more than one week). Qazi references Holland v. State, No 69883, 2017 WL 881951

17   at *1 (Nev. Ct. App. Feb 24, 2017) in support of his argument but in that case the

     Court found that evidence to include surveillance video and testimony of a victim at
18


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                                                 14
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1
     least 60 years of age who was struck and testified to the prolonged pain he felt

2    following the incident fulfilled the elements 200.481(2)(b). Qazi’s contention that one

     can be convicted of battery with substantial bodily harm by a mere unwanted touch is
3
     unsupported in law and contrary to statute. 31      30F




4
                    5. Battery with Substantial Bodily Harm Is Also a Crime of Violence
                       Under the Enumerated Offenses Clause
5
            USSG § 2K2.1 defines “crime of violence” to include aggravated assault. Nevada
6
     battery with substantial bodily harm also qualifies as a crime of violence because it is a

7    categorical match to that enumerated offense.

            Although it does not appear that the Ninth Circuit has had occasion to adopt a
8
     generic definition of “aggravated assault,” it has quoted the Model Penal Code
9
     definition, which includes “attempts to cause serious bodily injury.” United States v.
10   Gomez-Hernandez, 680 F.3d 1171, 1178 (9th. Cir. 2012) (quoting Model Penal Code §

11   211.1(a)). The Tenth Circuit has concluded that the generic definition includes “an

     offense that has an element either the causing of serious bodily injury or the use of a
12
     dangerous weapon.” United States v. Gastelum-Laurean, 370 Fed. Appx. 938, 941
13
     (10th Cir. 2010) (unpublished). Other circuits have adopted similar definitions. See,

14   e.g., United States v. Morales-Alonso, 878 F.3d 1311, 1315 (11th Cir. 2018)

15   (“[A]ggravated assault has two essential elements. First, there must be a ‘criminal

     assault.’ Second, the assault must be accompanied by either ‘the intent to cause serious
16


17
     31During the Motion hearing on August 28, 2018, the Government noted that District Court Judge
     Mahan had ruled that a Nevada conviction for attempted battery with substantial bodily harm did not
18
     qualify as a felony crime of violence in United States v. Fitzgerald, Case No. 2:17-cr-295-JCM-NJK. That
     case is currently pending appeal in the Ninth Circuit.
19
                                                       15
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     bodily injury to the victim or the use of a deadly weapon.’”); United States v.

2    Villasenor-Ortiz, 675 Fed. Appx. 424, 426 (5th Cir.), cert. denied, 138 S. Ct. 128 (2017)

     (“the two most common aggravating factors are ‘the causation of serious bodily injury
3
     and the use of a deadly weapon’”); United States v. Rodriguez, 664 F.3d 1032, 1036
4
     (6th Cir. 2011) (“Under the Model Penal Code, a defendant is guilty of aggravated
5
     assault ‘if he (a) attempts to cause serious bodily injury to another, or causes such

6    injury purposely, knowingly, or recklessly under circumstances manifesting extreme

     indifference to the value of human life; or (b) attempts to cause or purposely or
7
     knowingly causes bodily injury to another with a deadly weapon.’”). Qazi’s conviction
8
     for battery with substantial bodily harm clearly matches these definitions.

9            Moreover, the guidelines elsewhere define “aggravated assault” to include “a

10   felonious assault that involved serious . . . bodily injury.” USSG § 2A2.2 n.1(B). Qazi’s

     conviction for battery with substantial bodily harm qualifies as a felonious assault that
11
     involved serious bodily injury; it therefore plainly qualifies as a crime of violence under
12
     the definition of that enumerated offense of aggravated assault as it is defined in

13   USSG § 4B1.2(a)(2). 32   31F




                 C. Qazi Has Not Met The Legal Standard For His Release Pending
14
                    Sentencing

15           In a case where the Defendant has been found guilty of an offense, 18 U.S.C.

     § 3143(a) sets forth in relevant part: the judicial officer shall order that a person who
16


17

     32While § 2A2.2 n.1’s definition for aggravated assault may inform the Court’s decision as to the generic
18
     definition of that offense for purposes of § 4B1.2, the former adopts a definition of aggravated assault
     specifically “[f]or purposes of this guideline,” i.e., for § 2A2.2, and thus does not directly apply to § 4B1.2.
19
                                                           16
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1
     has been found guilty of an offense and who is awaiting imposition or execution of

2    sentence, be detained, unless the judicial officer finds by clear and convincing evidence

     that the person is not likely to flee or pose a danger to the safety of any other person or
3
     the community if released under section 3142(b) or (c). Now that Qazi has been found
4
     guilty, it is his burden to overcome this legal standard. Judge Leen’s Order from June
5
     8, 2017, found that there were no conditions or combination of conditions that would

6    reasonably assure Qazi’s appearance or the safety of the community. 33 If the Court is
                                                                                         32F




     inclined to consider Qazi’s release pending sentencing the Government submits the
7
     following proffer in support of its position that Qazi should be detained pending
8
     sentencing. 34 Under 18 § 3142(g) the Court must consider various factors in deciding
                  33F




9    whether to release or detain a defendant.                Those factors include: the nature and

10   circumstances of the offense charged, the weight of the evidence against the defendant,

     the history and characteristics of the defendant, and whether at the time of the offense
11
     the defendant was on probation, parole or any other release.
12
            The nature and circumstances of the offense charged are that Qazi was driving a
13
     vehicle that contained both a loaded firearm he was prohibited from possessing and

14   narcotics he intended to sell. 35     34F   Qazi admitted to possessing the firearm to law

     enforcement and his DNA was recovered on the gun. Qazi admitted to both his girlfriend
15


16


17   33 ECF No. 325.
     34 The Government respectfully requests leave to make additional arguments and present additional
     evidence if the Court re-opens Qazi’s detention hearing.
18   35 Gov. Ex. #2 – jail calls ending in 2200 (2:30 – 4:00) made on January 6, 2015 and 9467 (2:45 – 4:10 and

     7:45 – 9:00) made on January 13, 2015.
19
                                                        17
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1
     and his mom that he had the gun and the drugs in the car. 36 Qazi also was surprised
                                                                             35 F




2    when law enforcement found the items given they were hidden in the car. 37 This factor   36F




     weighs in favor of detention.
3

            The next factor is the weight of the evidence against the defendant. Qazi has been
4
     found guilty after a jury trial of the offense charged in the indictment so this factor
5
     weighs in favor of detention.
6
            The next factor is the history and characteristics of the defendant. Qazi has no
7
     significant ties to Las Vegas beyond his mother. Qazi resided with his mother, Gloria

8    Qazi, in Las Vegas, Nevada, prior to be arrested on January 6, 2015. The pre-trial

     services report indicated Qazi would reside with his mother if he is released pending
9
     sentencing. The Government has great concerns with this given prior to his arrest, Qazi
10
     would keep his gun and drugs at her residence. 38 Qazi was also using her car for the
                                                               37F




11   purpose of delivering drugs. Additionally, Qazi kept his stash of drugs at his mother’s

12   residence and while in custody he asked his girlfriend Crystal Clemenza to get his

     “stash” of drugs from his mother’s house along with baggies and a scale so she could
13
     package and sell the drugs to pay for his release from custody. 39 These actions constitute
                                                                                    38 F




14
     a separate federal offense of Use of a Communication Facility to commit/Facilitate a

15   Crime in violation of 21 U.S.C. § 843. Crystal Clemenza reported back to Qazi how much

     money she was trying to get in exchange for selling Qazi’s narcotics. Qazi also mentioned
16


17   36 Gov. Ex. #2 – jail calls ending in 8453 and 8981 made on January 6, 2015
     37 Gov. Ex. #2 – jail calls ending in 8453 and 8981 made on January 6, 2015
     38 Gov. Ex. #2 jail call ending in 2200 (2:30 – 4:00) made on January 6, 2015.
18   39 Gov. Ex. #2 jail calls ending in 2200 (2:30 – 4:00) made on January 6, 2015 and 9467 (2:45 – 4:10 and

     7:45 – 9:00) made on January 13, 2015.
19
                                                        18
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1
     that he believed his mother might still have his “glock”. 40                39F     Additionally, pre-trial

2    services, on August 28, 2018, had not been able to reach Qazi’s mother to verify the

     residence as an option nor had they conducted a home visit. For all of the above reasons
3
     the Government submits that is not a suitable residence should the Court decide to
4
     release Qazi pending sentencing.
5
               Qazi has been unemployed since 2009. Qazi has a known mental health history
6
     and substance abuse history. Qazi also has a significant criminal history to include:

7    2006 misdemeanor conviction for obstructing public officer, 2007 misdemeanor

     conviction for carrying a concealed weapon, 2009 gross misdemeanor conviction for
8
     pandering, 2009 misdemeanor conviction for petty larceny, three (3) separate 2009
9
     misdemeanor convictions for battery, 2009 misdemeanor conviction for attempted theft,

10   2011 misdemeanor conviction for battery domestic violence, 2011 felony conviction for

11   battery with substantial bodily harm and 2014 misdemeanor DUI conviction. Qazi was

     then arrested for having a gun and drugs (marijuana and methamphetamine) on
12
     January 6, 2015. Once he was released on that charge, he was again arrested for having
13
     drugs (methamphetamine) on February 8, 2015. 41              40F




14
               Qazi’s jail calls reveal his girlfriend was selling his drugs in order to get him out

15   of custody on the January 6, 2015 charges and once released he continues his criminal

     activity and is again arrested days later with drugs that he possessed with the intent to
16


17


18   40   Gov. Ex. #2 jail call ending in 9467 (7:45 – 9:00) made on January 13, 2015.
     41   Gov. Ex. #5.
19
                                                           19
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1
     sell. 42 Qazi poses a significant risk of reoffending if released. Qazi’s criminal history/
          41F




2    criminal activity reveals a propensity for physical violence, most concerning are the

     underlying facts regarding the 2010 attack where he physically assault the mother of
3
     his child and her thirteen year old daughter. 43 Qazi’s history also shows he possesses
                                                            42F




4
     weapons and narcotics with the intent to sell. Qazi’s disciplinary record while in custody
5
     also shows a number of violations and disciplinary actions to include: Failure to follow

6    verbal or posted rules in July 2015, Assault in July 2015, Hindering an employee in

     performance of duty in July 2015, Failure to follow verbal or posted rules in August 2015,
7
     Unauthorized use of mail or telephone in August 2015, Failure to follow verbal or posted
8
     rules in May 2016, Failure to follow verbal or posted rules in March 2017 (3 separate

9    times), Assault in July 2018, and Insurrection in July of 2018. 44 Finally, Qazi has not
                                                                                43F




10   abided by the Court’s orders or instructions throughout this case. The most prevalent

     example was his violent actions and threatening statements made on March 24, 2017 in
11
     front of Judge Leen and towards the AUSA. 45 For all of these reasons Qazi should
                                                                  44F




12
     remain detained pending sentencing.

13
                The Government anticipates Qazi’s sentencing guidelines range without a two-

14   level enhancement for Obstruction of the Administration of Justice under USSG 3C1.1

     would be at least sixty-three (63) to seventy-eight (78) months in custody. 46 Qazi does
15
                                                                                              45F




16
     42 Gov. Ex. #2 jail call ending in 3727 (2:20 – 2:35, 4:06 – 4:40, 5:30 – 6:55) made on February 8, 2015
17   and Gov. Ex. #5 – police paperwork.
     43 Gov. Ex. #3 – police paperwork.
     44 Gov. Ex. #4 – Disciplinary history
     45 Gov. Ex. #2 – Audio from the end portion of the Motion hearing.
18   46 USSG § 2K2.1(a)(4)(A) – base offense level of 20 and a +4 enhancement for in connection with another

     felony offense under USSG § 2K2.1(b)(6)(B) for an adjusted offense level of 24. The Government intends
19
                                                       20
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1
     not dispute the proposed criminal history category of III given he argues his guidelines

2    sentencing range, assuming a base level of fourteen (14), would be twenty-one (21) to

     twenty-seven (27) months in custody. 47 The Government submits Qazi’s Motion should
3
                                                46F




     be denied and he should remain detained pending sentencing.
4
                                                 II.      Conclusion
5
            WHEREFORE, after consideration of the included facts, points, authorities,
6
     exhibits, and arguments, the United States respectfully requests that this Court DENY
7
     the Qazi’s ““Motion for Release Pending Sentencing” [ECF No. 529].

8
            DATED this 31st day of August, 2018.

9
                                                      Respectfully submitted,

10
                                                      DAYLE ELIESON
11                                                    United States Attorney
                                                              //s//
12
                                                      ALEXANDRA MICHAEL
                                                      Assistant United States Attorney
13


14


15


16


17

     to submit a sentencing memorandum, after reviewing the PSR, that will address its position regarding
18
     the enhancements under USSG § 2K2.1(b)(6)(B) and USSG § 3C1.1.
     47 ECF No. 529 at 1.


19
                                                         21
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1


2


3
                                 CERTIFICATE OF SERVICE
4


5          I certify that I am an employee of the United States Attorney’s Office. A copy of

     the foregoing GOVERNMENT’S SUPPLEMENTAL RESPONSE IN OPPOSITION
6
     TO DEFENDANT QAZI’S “MOTION FOR RELEASE PENDING SENTENCING”
7
     [ECF No. 529] was sent to Defendant Qazi via Fedex Trackin Number # 7730 9210 7231

8    (overnight) addressed to:


9          Mr. Omar Qazi #49760048
           NSDC 2190 East Mesquite Avenue
10
           Pahrump, Nevada, 89060

11
     and on stand-by counsel Telia Williams, Esq., via electronic service by ECF, on August
12
     31, 2018.

13
           DATED this 31st day of August, 2018.

14
                                                    / s / Alexandra Michael
15                                          ______________________________
                                            ALEXANDRA MICHAEL
16
                                            Assistant United States Attorney

17


18


19
                                               22
